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Lawrence H. Reichman, OSB No. 860836
LReichman@perkinscoie.com
Nicholle Winters, OSB No. 054155
NWinters@perkinscoie.com
PERKINS COIE llp
1120 N.W. Couch Street, Tenth Floor
Portland, OR 97209-4128
Telephone: 503.727.2000
Facsimile: 503.727.2222

Howard Skaist, Esq., OSB No 883482
hskaist@bltg-ip.com
Katherine Ford Horvath, Esq. (admitted pro hac vice)
khorvath@bltg-ip.com
BERKELEY LAW AND TECHNOLOGY
  GROUP, LLP
17933 Evergreen Parkway, Suite 250
Beaverton, OR 97006-7660
Telephone: 503.439.6500
Facsimile: 503.439.6558

Complete list of counsel on signature page

Attorneys for Plaintiffs


                                    UNITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON



MELLAND GROUP, LLC d/b/a nTRUST, an
Oregon limited liability company, and ALLAIN                                       No. CV08-957-AC
DE LA MOTTE,

                             Plaintiffs,
                                                       PLAINTIFFS' MOTION FOR
         v.                                            PRELIMINARY INJUNCTION

BERND H. WEBER, CLAUDE J.
CHAUVEAU, AMERICAN GULF
FINANCE CORP., ALVION PARTNERS,
LLC, WEBER, LLC, AGF REALTY                            EXPEDITED HEARING REQUESTED
SOLUTIONS, INC., ALEXON HOLDINGS
INTERNATIONAL LTD., TIMEDATA
CORPORATION, TIME DATA
HOLDINGS, LLC, and DOES 1-10,

                             Defendants.




                                                                            Perkins Coie llp
1 - PLAINTIFFS' MOTION FOR PRELIMINARY                             1120 N.W. Couch Street, Tenth Floor
     INJUNCTION                                                         Portland, OR 97209-4128
69726-000I/LEGAL14947S65.1                                                Phone: 503.727.2000
                                                                            Fax: 503.727.2222
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                                 LOCAL RULE 7.1 CERTIFICATION

         Pursuant to LR 7.1, Plaintiffs Melland Group, LLC d/b/a nTrust ("Melland") and Allain

de la Motte ("de la Motte") (collectively referred to as "Plaintiffs") certify that counsel for

Plaintiffs has conferred with pro se Defendants Bemd H. Weber ("Weber") and Claude J.

Chauveau ("Chauveau") and that they oppose this motion. Entity Defendants have not yet

appeared.

                                             MOTION

         Pursuant to Fed. R. Civ. P. 65(a), Plaintiffs move this Court to issue a preliminary

injunction against Defendants Bemd H. Weber ("Weber"), Claude J. Chauveau ("Chauveau"),

American Gulf Finance Corp. ("American Gulf), Alvion Partners, LLC ("Alvion Partners") and

AGF Realty Solutions, Inc. (AGF Realty") (collectively, the "Defendants"). Plaintiffs seek to (1)

enjoin Defendants' misappropriation of Plaintiffs' trade secrets; (2) enjoin Defendants'

infringement of Plaintiffs' trademark rights under section 43(a) of the Lanham Act; (3) enjoin

Defendants' breach of the non-disclosure agreements ("CNDAs") executed by one or more

Defendants, on the one hand, and Melland, on the other hand; (4) enjoin Defendants Weber and

Chauveau's breach of the fiduciary duties owed to Plaintiffs by Defendants Weber and

Chauveau; (5) the immediate return of all documentary Confidential Technology; and

(6) identification of all third parties to whom Defendants disclosed or sought to disclose

Plaintiffs' confidential information, including identification of the specific information disclosed.

Unless and until Defendants are enjoined by this Court, Plaintiffs will continue to suffer

irreparable harm due to Defendants' bad acts.

         This Motion is supported by the Memorandum in Support, Declaration of Allain de la

Motte, Declaration of Robert West, Declaration of Brad Henshaw, and Declaration of Jon S.

Crouse and attached exhibits, filed concurrently herewith.




                                                                              Perkins Coie llp
2 - PLAINTIFFS' MOTION FOR PRELIMINARY                                1120 N.W. Couch Street, Tenth Floor
      INJUNCTION                                                           Portland, OR 97209-4128
69726-0001 /LEGAL 14947565.1                                                 Phone: 503.727.2000
                                                                               Fax: 503.727.2222
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DATED: December 5,2008                     s/ Lawrence H. Reichman
                                           Lawrence H. Reichman, OSB No. 860836
                                           LReichman@perkinscoie.com
                                           Nicholle Winters, OSB No. 054155
                                           NWinters@perkinscoie.com
                                           Perkins Coie llp
                                           1120 N.W. Couch Street, Tenth Floor
                                           Portland, OR 97209-4128
                                           Telephone: 503.727.2000
                                           Facsimile: 503.727.2222

                                           Howard Skaist, Esq., OSB No 883482
                                           hskaist@bltg-ip.com
                                           {Catherine Ford Horvath, Esq. (admitted pro hac
                                           vice)
                                           khorvath@bltg-ip.com
                                           Berkeley Law and Technology Group, LLP
                                           17933 Evergreen Parkway, Suite 250
                                           Beaverton, OR 97006-7660
                                           Telephone: 503.439.6500
                                           Facsimile: 503.439.6558

                                           Richard L. Coffman, Esq. (admitted pro hac vice)
                                           The Coffman Law Firm
                                           First City Building
                                           505 Orleans St., Ste. 505
                                           Beaumont, TX 77701
                                           Telephone: (409) 833-7700
                                           Facsimile: (866) 835-8250
                                           rc@cofflaw.com

                                           Attorneys for Plaintiffs




                                                                      Perkins Coie llp
3 - PLAINTIFFS' MOTION FOR PRELIMINARY                      1120 N.W. Couch Street, Tenth Floor
     INJUNCTION                                                  Portland, OR 97209-4128
69726-0001/LEGAL14947565.1                                            Phone: 503.727.2000
                                                                       Fax: 503.727.2222
